                   Case 3:18-cr-00757-BRM Document 17 Filed 06/19/18 Page 1 of 1 PageID: 210
    <!i:oA098      (Rev. 8/85) Appearance Bond


                                            UNITED STATES DISTRICT COURT
                                                                      District of                                       New Jersey


                UNITED STATES OF AMERICA
                             V.
                       Steven B. Mell                                         APPEARANCE BOND


                            Defendant
                                                                              Case                     18-7094



  Non-surety: I, the undersigned defendant acknowledge that I and my ...
  Surety: We, the undersigned, jointly and severally acknowledge that we and our ...
  persona representatives, jointly an4severally, are bound to pay to the United States of America the sum of
$            (J,       ·o7>          JC      , and there has been deposited i          istry of the Court the sum of
$                                      'f'O u    t·         in cash                                                                (describe other security.)

    The conditions of this bond are that the defendant                                                        Steven B. Mell
                                                                                                                      (Name)
  is to appear before this court and at such other places as the defendant may be required to appear, in accordance with any and
all orders and directions relating to the defendant's appearance in this case, including appearance for violation of a condition of
defendant's release as may be ordered or notified by this court or any other United States District Court to which the defendant
may be held to answer or the cause transferred. The defendant is to abide by any judgment entered in such matter by surrenderinf
to serve any sentence imposed and obeying any order or direction in connection with such judgment.

  It is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which shall continue
until such time as the undersigned are exonerated.

  If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this bond, then this
bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the amount of this bond shall
be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by any United States District Court
having cognizance of the above entitled matter at the time of such breach and if the bond is forfeited and if the forfeiture is not
set aside or remitted, judgment, may be entered upon motion in such United States District Court against each debtor jointly and
severally for the amount above stated, together with interest and costs, and execution may be issued and payment secured as
provided by the Federal Rules of Criminal Procedure and any other laws of the United States.

                                                6/19/18                     a _ _ _ _ _ _ _---"'Uc.:a:Sc=D:;..;:C........._N...,_,e"""w.:..::a"'"rk......,N"""J"----------
                                                             Date                                                          Place

                                                                          Addressf'        Jz.A9~c                            N~
    Surety                                                                Address        k1cuo 4(..._ J1,,[a ac ( I                         5: ·    C-,

    Surety                                                                Address

    Signed and acknowledged before me on                                        June19,2018              ~~
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    Approved:
                              Judicia1'0fficer - - ~... '
